              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION
              CRIMINAL CASE NO. 3:85-cr-00062-MR-1


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                       ORDER
                                )
                                )
WAYNE PORTER,                   )
                                )
                   Defendant.   )
_______________________________ )

      THIS MATTER is before the Court on the Defendant’s “Motion for

Reconsideration…” [Doc. 33].

      The Defendant moves the Court to reconsider its Order [Doc. 30]

denying his motion to correct certain alleged “errors” in the Fourth Circuit’s

decision affirming his conviction and sentence. On the same day that the

Defendant filed this motion for reconsideration, he filed a notice of appeal to

the Court of Appeals for the Fourth Circuit. [Doc. 31]. The filing of this notice

of appeal divested this Court of jurisdiction over the case and conferred

jurisdiction upon the Fourth Circuit. See United States v. Christy, 3 F.3d 765,

767 (4th Cir. 1993). Accordingly, the Court lacks jurisdiction to dispose of

the Defendant’s motion.



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     IT IS, THEREFORE, ORDERED that the Defendant’s “Motion for

Reconsideration…” [Doc. 33] is DENIED.

     IT IS SO ORDERED.
                            Signed: May 20, 2020




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